              Case 2:19-cv-00490-TSZ Document 27 Filed 07/23/19 Page 1 of 3




 1                                                                    The Honorable Thomas S. Zilly
                                                                           Noted For: July 26, 2019
 2                                                                          Without Oral Argument
 3

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
     ESTATE OF WANGSHENG LENG, by
10   and through administrator, LIPING YANG,                No. 2:19-cv-00490-TSZ

11                                      Plaintiffs,         DEFENDANTS’ PRAECIPE
                                                            REGARDING DEFENDANTS’
12              v.                                          OPPOSITION PLAINTIFF’S MOTION
     THE CITY OF ISSAQUAH, ISSAQUAH                         TO QUASH SUBPOENAS FOR
13                                                          MEDICAL RECORDS
     POLICE OFFICER M. LUCHT #1201, and
14   ISSAQUAH POLICE OFFICER KYLEN
     WHITTOM, #1210,
15
                                      Defendants.
16
                Pursuant to Local Rules W.D. Wash. LCR 7(h), Defendants respectfully submit the
17
     following correction to Defendants’ Opposition to Plaintiff’s Motion to Quash Subpoenas
18
     for Medical Records (Dkt. No. 20):
19
                Page 2, line 26: added the language “and Ragonesi Decl., Ex. D.”
20
                Defendants’ are filing the entire brief as this addition has changed the pagination.
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     DEFS’ PRAECIPE REGARDING DEFS’ OPPOSITION                      KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     PLTF’S MOTION TO QUASH SUBPOENAS FOR MEDICAL                                  ATTORNEYS AT LAW
     RECORDS - 1                                                             801 SECOND AVENUE, SUITE 1210

     2:19-cv-00490-TSZ                                                        SEATTLE, WASHINGTON 98104
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     1002-01464/445141
              Case 2:19-cv-00490-TSZ Document 27 Filed 07/23/19 Page 2 of 3



                DATED: July 23, 2019
 1
                                       KEATING, BUCKLIN & McCORMACK, INC., P.S.
 2

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              Case 2:19-cv-00490-TSZ Document 27 Filed 07/23/19 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2              I hereby certify that on July 23, 2019, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to

 4   the following:

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18
     and I hereby certify that I have mailed by United States Postal Service the document to the
19
     following non CM/ECF participants:
20
                N/A
21

22   DATED: July 23, 2019
23

24                                                   /s/ Christine Jensen Linder
25                                                   Christine Jensen Linder, Legal Assistant
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     DEFS’ PRAECIPE REGARDING DEFS’ OPPOSITION                     KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     PLTF’S MOTION TO QUASH SUBPOENAS FOR MEDICAL                                 ATTORNEYS AT LAW
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